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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                  Case No. 3:14cr4/MCR

ORAN E. DIXON
_____________________________________________________________________

                           REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim. P.,
and has entered a plea of guilty to Count I of the Indictment. After cautioning and examining the
Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the
guilty plea was knowing and voluntary, and that the offense charged is supported by an independent
basis in fact containing each of the essential elements of such offense. I therefore recommend that
the plea of guilty be accepted and that the Defendant be adjudicated guilty and have sentence
imposed accordingly.



Dated: March 5, 2014                         /s/ Elizabeth M. Timothy
                                             ELIZABETH M. TIMOTHY
                                             UNITED STATES MAGISTRATE JUDGE

                                            NOTICE

       Any objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that may
appear on the electronic docket is for the court’s internal use only, and does not control. A
copy of objections shall be served upon all other parties. Failure to object may limit the scope
of appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
